                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-73-011
 v.                                                    )
                                                       )       COLLIER / LEE
 KENNY SMITH                                           )

                                             ORDER

        On April 6, 2012, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count

 One of the twenty-one-count Indictment; (2) accept Defendant’s plea of guilty to Count One of the

 Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Indictment;

 (4) defer a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter (Court File No. 198). Neither party filed a

 timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Court File No. 198) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and




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       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, August 23, 2012 at 9:00 a.m. [EASTERN]

             before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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